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        Exhibit D
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                                                                                             US011176538B2

( 12 )   United States Patent                                          ( 10 ) Patent No.: US 11,176,538 B2
         Wyatt                                                         (45 ) Date of Patent :  Nov. 16 , 2021

(54) MULTI - FUNCTION SMART TOKENIZING                                                    20/3827 ; G06Q 20/346 ; G06Q 20/065 ;
         ELECTRONIC PAYMENT DEVICE                                                           G06Q 20/409 ; G06Q 20/352 ; GO6Q
                                                                                             20/24 ; G06Q 20/385 ; G06Q 20/347 ;
( 71 ) Applicant: Virtual Electric Inc. , San Jose , CA                                        G06Q 20/223 ; G06Q 20/06 ; GO6K
                        (US )                                                                    19/07749 ; G06K 19/0716 ; G06K
                                                                                            19/06206 ; G07F 7/0873 ; G07F 19/00
( 72 ) Inventor: David Wyatt, San Jose , CA (US )                            See application file for complete search history.
( * ) Notice : Subject to any disclaimer, the term of this         ( 56 )                    References Cited
                 patent is extended or adjusted under 35                               U.S. PATENT DOCUMENTS
                   U.S.C. 154 ( b ) by 0 days.
( 21 ) Appl . No.: 17 /075,637                                              7,580,898 B2 *      8/2009 Brown            G06Q 20/341
                                                                                                                             705/50
                                                                            7,793,851 B2 *      9/2010 Mullen            GO6Q 20/40
( 22 ) Filed :          Oct. 20 , 2020                                                                                      235/493
( 65 )                    Prior Publication Data                                                 ( Continued )
                                                                   Primary Examiner Seung H Lee
         US 2021/0304187 A1              Sep. 30, 2021             (57 )               ABSTRACT
                Related U.S. Application Data                      An embodiment includes a multi - function electronic device
( 60 ) Continuation of application No. 16/ 459,150 , filed on
                                                                   capable of generating a programmed magnetic field of
       Jul. 1 , 2019 , now Pat . No. 10,810,579 , which is a
                                                                   alternating polarity based on a speed of aa card swipe , and
                                                                   methods for constructing the device for the purpose of
                                (Continued )                       emulating a standard credit card . An apparatus is described
                                                                   to allow the device to emulate behavior of a credit card when
( 51 ) Int . Cl .                                                  used in electronic credit card readers. Additionally, methods
         G06Q 20/34                   ( 2012.01 )                  are described to allow user control of the device for the
         GOZF 19/00                   ( 2006.01 )                  purpose of authorizing or controlling use of the device in the
                         ( Continued )                             application of credit , debit and cash transactions, including
(52) U.S. CI .                                                     cryptocurrency and device - to -device transactions. Methods
       CPC ... G06Q 20/341 (2013.01 ) ; G06K 19/06206              are also described for generating a limited -duration payment
                ( 2013.01 ) ; G06K 19/0716 ( 2013.01 ) ; G06K      number when performing a transaction for the purpose of
              19/07749 ( 2013.01 ) ; G06Q 20/06 ( 2013.01 ) ;      creating a limited -use payment number, which is limited in
                     G06Q 20/065 (2013.01 ) ; G06Q 20/223          scope of use to a predetermined number of authorized
                          ( 2013.01 ) ; G06Q 20/24 ( 2013.01 ) ;   transactions . Furthermore the device may interact with other
                         (Continued )                              similar devices in proximity for the purpose of funds or
                                                                   credit / debit transfers .
( 58 ) Field of Classification Search
         CPC ........      GO6Q 20/341 ; G06Q 20/4012 ; GO6Q                           30 Claims , 7 Drawing Sheets




                                                                     155




                                                                                 APS
                                                                                                                          150




                                                                    120
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              Related U.S. Application Data                                  G06K 19/077             (2006.01 )
       continuation of application No. 15 /701,261 , filed on                G06Q 20/24              ( 2012.01 )
       Sep. 11 , 2017 , now Pat. No. 10,339,520 , which is a                 G06Q 20/40              (2012.01 )
       continuation of application No. 14 / 981,757 , filed on    ( 52 ) U.S. CI .
       Dec. 28 , 2015 , now Pat . No. 9,760,884 , which is a
                      2                                                      CPC           G06Q 20/346 (2013.01 ) ; G06Q 20/347
       continuation of application No. 14 / 680,979 , filed on                         (2013.01 ) ; G06Q 20/352 ( 2013.01 ) ; G06Q
       Apr. 7 , 2015 , now Pat. No. 9,224,083 , which is a                           20/385 (2013.01 ) ; G06Q 20/3827 ( 2013.01 ) ;
       division of application No. 14 /217,261 , filed on Mar.                            G06Q 20/409 ( 2013.01 ) ; G06Q 20/4012
       17 , 2014 , now Pat . No. 9,022,286 .                                           ( 2013.01 ) ; G07F 770873 ( 2013.01 ) ; G07F
( 60 ) Provisional application No. 61 / 794,891 , filed on Mar.                                                    19/00 (2013.01 )
       15 , 2013 .                                                ( 56 )                     References Cited
( 51 ) Int. Ci.                                                                      U.S. PATENT DOCUMENTS
      G06Q 20/06               ( 2012.01 )
      G06Q 20/22               ( 2012.01)                                   8,851,370 B2     10/2014 DiMuro
      G06Q 20/38               ( 2012.01 )                                 9,646,301 B2 5/2017 DiMuro
       G07F 7/08               ( 2006.01 )                                 9,928,496 B2 * 3/2018 Lee                  G06Q 20/353
                                                                           10,339,520 B2 *    7/2019 Wyatt            G06Q 20/346
       GO6K 19/06              ( 2006.01 )
       G06K 19/07              (2006.01 )                         * cited by examiner
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                                          130




                                           155
              AND


                                                                        150




                                          120




                                     FIG . 1
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                                                                                                            230



                                                 Optical sensor array
                                                                      kuchukua            hahanananana                    225




                                                                                                                         220

                                                          207 Memory
                                                25
                                    Interface
                    210
        Detection                                                   Processor


                                    Real Time                            Touch Sensor
                                      Clock                                     Array 245                Source
                                                                                                                  255
                                                          Display


        235
                                                 FIG . 2A
                                                                                                            230


                                                 Optical sensor array
                                                                                                                         225



                                                                                                                         220


                                    Interface
                                                215       202       Memory       1
                                                                                                                  260
                    210
                                                                    Processor
       Detection
                                                                                                                  265
                                                240
              270                   Real Time
                                                                         Touch Sensor                    Power
                                      Cock                                      Array                    Source
                                                                                        245                       255
                   Galvanic                              Display
                    sensor




                              275
        235

                                                 FIG . 2B
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       280



                                                                                282
               display a plurality of accounts stored by a memory comprised by
                                     a credit card device




                                                                                284
                  receive an indication of a selection of an account from the
                                     plurality of accounts



                                                                                286
                   configure the credit card device to perform a transaction
                 according to user data associated with the selected account


                                                                                 233
                 encode a planar coil of the credit card device with a limited
                 duration credit number associated with the selected account


                                        FIG . 20
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       300




                                   is a standard magnetic card          NO
                                       reader detected to be in
                                             proximity ?




                                                                                  303
                 Detect a movement rate at which the body of the credit card
                device is moving relative to the standard magnetic card reader


                                                                                  305
              Generate a magnetic field via an inductor assembly comprised by
                the credit card device , the magnetic field having a target rate of
               alternating polarity , wherein the target rate of alternating polarity
                                   ?

                           is based on the detected movement rate




                                               FIG . 3
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                                                                            2

                                                      000
                                                             88
                                                             450a



                                   FIG . 4A




                                                      UNIO
                                                             Por000
                                                             4505


                                   FIG . 4B
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                                                *




              Bu
                             FIG . 5




      601a



                                   ^y                       6015


                   650a




                             FIG . 6
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                  receive an input signal at a credit card device from a user
               enabling operation of a near -field communication (NFC ) unit of
                                     the credit card device




               receive an indication of an amount of currency for a transaction



              generate , at the credit card device , an limited-duration credit card
                                            number




               transmit the limited - duration credit card number from the credit
                         Card device to a recipient of the transaction

                                            FIG , 7
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                                                    US 11,176,538 B2
                              1                                                                   2
     MULTI - FUNCTION SMART TOKENIZING                            chips and RF technology are not in wide use at present
          ELECTRONIC PAYMENT DEVICE                               because they are incompatible with existing credit card
                                                                  infrastructure, which still predominantly supports conven
                RELATED APPLICATIONS
                                                                5
                                                                  tional plastic credit cards.
  This is a Continuation application of commonly - owned                        SUMMARY OF THE INVENTION
U.S. patent application Ser. No. 16 / 459,150 , now U.S. Pat.
No. 10,810,579 , filed Jul. 1 , 2019 , which in turn was a            This Summary is provided to introduce a selection of
Continuation application of commonly -owned U.S. patent              concepts in a simplified form that are further described
application Ser. No. 15 /701,261 , now U.S. Pat . No. 10,339 , 10 below in the Detailed Description . This Summary is not
520 , filed Sep. 11 , 2017 , which in turn was a Continuation intended to identify key features or essential features of the
application U.S. patent application Ser. No. 14 / 981,757 , claimed subject matter, nor is it intended to be used to limit
filed Dec. 28 , 15 , now U.S. Pat. No. 9,760,884 , which in the scope of the claimed subject matter.
turn was a continuation of U.S. patent application Ser. No.             An embodiment includes a multi - function electronic
14 /680,979, filed Apr. 7 , 2015 , now U.S. Pat . No. 9,224,083 , 15 device capable of generating a programmed magnetic field
which in turn was a Division of U.S. patent application Ser. of alternating polarity based on a speed of a card swipe , and
No. 14 /217,261 , filed Mar. 17 , 2014 , now U.S. Pat. No. methods for constructing the device for the purpose of
9,022,286 , which in turn claims priority from Provisional emulating a standard credit card . An apparatus is described
Application 61 /794,891 , filed Mar. 15 , 2013 , each of which to allow said device to emulate behavior of a credit card
are hereby incorporated herein in their entirety by reference . 20 when     used in electronic credit card readers . Additionally,
                                                                     methods are described to allow user control of said device
                 FIELD OF THE INVENTION                              for the purpose of authorizing or controlling use of said
                                                                     device in the application of credit , debit and cash transac
   Embodiments according to the present disclosure gener- tions , including cryptocurrency and device - to -device trans
ally relate to electronic or smart payment devices and, more 25 actions . Methods are also described for generating a limited
specifically, to more secure , smart multi - function smart duration payment number when performing a transaction for
tokenizing electronic payment devices and transaction pro- the purpose of creating a limited -use payment number,
cessing thereof.                                                     which is limited in scope of use to a predetermined number
                                                                     of authorized transactions . Furthermore, said device may
           BACKGROUND OF THE INVENTION                            30 interact with other similar devices in proximity for the
                                                                     purpose of funds or credit/debit transfers .
   There are several different types of credit cards available          More specifically, an aspect of the present disclosure
in the marketplace at present. A first type of credit card is a provides an apparatus comprising: a thin card shaped sized
conventional, standard piece of plastic with a magnetic strip , body ; a memory operative to store a plurality of identifica
which is readily available and in wide commercial use . The 35 tion data ; a processor coupled to the memory ; a user
advantage of this first type of credit card is that a large interface for selecting a select identification data of said
portion of the infrastructure for credit card transactions is plurality of identification data ; a magnetic card reader detec
built around this type of card, and consequently such aa card tion unit for determining if the body is adjacent to a standard
works in a wide array of vendors ' credit card machines , magnetic card reader ; and an inductor assembly coupled to
automated teller machines (ATMs ), and other devices that 40 the processor and integrated into the body, the inductor
support the present credit card and banking infrastructure . assembly under processor control for generating a magnetic
   Another type of credit card device employs the use of a field of alternating polarity responsive to the body being
smart integrated circuit chip . These types of credit cards detected as adjacent to a standard magnetic card reader, the
have a built - in microprocessor with cryptographic capabili- magnetic field generated in a region substantially encom
ties . These microprocessors operate in aa similar manner to a 45 passing the standard magnetic card reader, wherein the
cell phone having a chip comprising a cryptographic pro- magnetic field encodes said select identification data , and
cessor. Such a smart card device requires contact with a wherein the magnetic field is operable to be read by a
reader in order to be read and to perform a transaction . The magnetic read head of the standard magnetic card reader.
reader provides the manner in which a facility interacts with           According to another aspect of the present disclosure, a
the built- in processor on the card , e.g. , for purposes of 50 multi -function electronic device comprises: a near - field
performing verification on the authenticity of the card or for communication (NFC ) unit; a touch sensor array ; a display;
making direct deposit on the card . These credit card a motion rate detection array; a memory, storing a user data
devices also comprise a magnetic strip such that they are and a currency amount; and a processor operatively coupled
compatible with standard plastic credit card readers in wide to the NFC unit, the touch sensor array, the display, the
use .                                                             55 motion rate detection array, and the memory ; and wherein
   A different type of credit card device in circulation the processor initiates a device - to -device transaction
employs radio frequency identification (“ RFID ” ). These between two devices by a detected proximity of a first device
cards essentially have aa low -power RF antenna built into the and a second device and an input of information by a first
card , and when the cardholder passes the antenna in front of user via said touch sensor array, and wherein the device -to
a reader comprising an RF field , enough power is generated 60 device transaction comprises an exchange of stored currency
to enable the processor to interact wirelessly with the and said user data between the first device and the second
receiving device.                                                    device via the NFC unit .
   A concern with each of these types of credit cards                   According to yet another aspect of the present disclosure ,
presently available in the marketplace is that they can all be , a method of performing a transaction comprises: receiving
in various ways , susceptible to theft and / or compromise. 65 an input signal at a multi- function electronic device from a
Therefore , these types of credit cards have security limita-       user enabling operation of a near-field communication
tions . Further, cards employing smart integrated circuit           (NFC ) unit of the device ; receiving an indication of an
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                               3                                                                    4
amount of currency for a transaction; generating at said manipulations of physical quantities. Usually, though not
device a limited -duration payment number, and transmitting necessarily, these quantities take the form of electrical or
said limited - duration payment number from said device to a magnetic signals capable of being stored , transferred , com
recipient of the transaction.                                   bined , compared , and otherwise manipulated in a computer
                                                              5
                                                                system . It has proven convenient at times , principally for
      BRIEF DESCRIPTION OF THE DRAWINGS                         reasons of common usage , to refer to these signals as bits ,
                                                                values , elements , symbols, characters, terms, numbers, or
   Embodiments of the present disclosure are illustrated by the like .
way of example, and not by way of limitation , in the figures     It should be borne in mind, however, that all of these and
of the accompanying drawings and in which like reference 10 similar terms are to be associated with the appropriate
numerals refer to similar elements .
   FIG . 1 is an illustration depicting an exemplary interac physical      quantities and are merely convenient labels applied
tion between a device and a standard magnetic card reader, apparent quantities
                                                               to  these              . Unless specifically stated otherwise as
                                                                            from the following discussions , it is appreciated
according to an embodiment of the present disclosure.
   FIGS . 2A - 2B are block diagrams illustrating data flow 15 that throughout      the present claimed subject matter, discus
between the magnetic coils on the device and the micropro sions       utilizing terms such as “ storing ,” “ creating, ” “ protect
cessor on the device according to an embodiment of the oringthe    ," " receiving , " " encrypting , " " decrypting , " " destroying,"
                                                                         like, refer to the action and processes of a computer
present disclosure.
   FIG . 2C depicts an exemplary process of selecting an       system     or integrated circuit, or similar electronic computing
account from a plurality of stored accounts according to an 20 device, including an embedded system , that manipulates and
embodiment of the present disclosure.                          transforms data represented as physical ( electronic ) quanti
   FIG . 3 is a flowchart illustrating an exemplary process of ties within the computer system's registers and memories
generating a magnetic field with an alternating polarity into other data similarly represented as physical quantities
according to an embodiment of the present disclosure .              within the computer system memories or registers or other
   FIGS  . 4A -4B  illustrate a user interacting with   a touch  25 such information storage, transmission or display devices.
sensor of a device, according to an embodiment of the Encoding Via an Alternating Polarity of a Magnetic Field
present disclosure .                                                   In one embodiment of the present disclosure, a smart
   FIG . 5 is an illustration of a device connected with a multi- function electronic device comprises a dynamic mag
computing system and operating according to an embodi- netic region ( strip ) incorporating a main inductor assembly
ment of the present disclosure.                                  30 from which programmed magnetic field data symbols are
   FIG . 6 is an illustration of two devices performing a dynamically generated . In one embodiment the inductor
transaction according to an embodiment of the present assembly may be a planar coil formed within the material
disclosure .                                                        that embodies the multi - function electronic device . An
   FIG . 7 depicts an exemplary process according to an advantage of using a planar coil is that it can dynamically
embodiment of the present disclosure.                            35 produce a magnetic field in such a manner as to emulate the
                                                                    interaction between a traditional magnetic strip and a con
            DETAILED DESCRIPTION OF THE                             ventional card reader. As the magnetic strip of a conven
                         INVENTION                                  tional card is passed through a magnetic reader head , stripes
                                                                    of alternating magnetic polarity embedded in the strip
   Reference will now be made in detail to the various 40 induce a magnetic field of alternating polarity at the reader
embodiments of the present disclosure, examples of which head. The pattern formed by the alternating polarity of the
are illustrated in the accompanying drawings. While magnetic field encodes information , which when trans
described in conjunction with these embodiments, it will be formed by a transducer to a current signal in the magnetic
understood that they are not intended to limit the disclosure reader head , provides user information for a transaction .
to these embodiments . On the contrary , the disclosure is 45 Embodiments of the present disclosure provide a multi
intended to cover alternatives, modifications and equiva- function electronic device able to generate a programmed
lents, which may be included within the spirit and scope of magnetic field , wherein data is encoded and represented by
the disclosure as defined by the appended claims . Further- an alternating polarity of the generated magnetic field . In a
more , in the following detailed description of the present similar manner to a conventional plastic card , the magnetic
disclosure , numerous specific details are set forth in order to 50 field produced by the planar coil is able to be read by a
provide a thorough understanding of the present disclosure. pickup (or “ transducer ” ) and to thereby transmit information
However, it will be understood that the present disclosure to the magnetic card reader. FIG . 1 illustrates a payment
may be practiced without these specific details. In other transaction 100 performed between a multi - function elec
instances, well - known methods, procedures, components, tronic device 101 and a conventional magnetic reader 150 .
and circuits have not been described in detail so as not to 55 The multi - function electronic device 101 generates a mag
unnecessarily obscure aspects of the present disclosure.            netic field of alternating polarity 120 to be read by the
   Some portions of the detailed descriptions which follow conventional magnetic card reader 150 , according to an
are presented in terms of procedures, steps, logic blocks , embodiment of the present disclosure. The multi - function
processing, and other symbolic representations of operations         electronic device 101 is moved at a rate 130 relative to a
on data bits that can be performed on computer memory. 60 magnetic reader head 155 of conventional magnetic card
These descriptions and representations are the means used reader 150. The magnetic field 120 extends with sufficient
by those skilled in the data processing arts to most effec- distance and intensity from 101 so as to be read by magnetic
tively convey the substance of their work to others skilled in head reader 155. The magnetic head reader 155 responds to
the art. A procedure , computer generated step , logic block , the magnetic field 120 by producing a current in the con
process, etc. , is here, and generally, conceived to be a 65 ventional fashion, which is then interpreted as encoded
self - consistent sequence of steps or instructions leading to a information by the magnetic reader 150. Therefore the
desired result. The steps are those requiring physical magnetic field of alternating polarity 120 produced by the
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                               5                                                                  6
multi- function electronic device 101 has a substantially to read conventional cards, are constructed to read data at
identical encoding effect as a traditional magnetic strip .         specified input rates that correspond with the data density
   A characteristic of encoding information in a conventional present in conventional magnetic card strips. The magnetic
magnetic card strip is that binary information is encoded by data symbols generated by the planar coil 220 are produced
the pattern of alternating magnetic polarity formed by fer- 5 to align with the rate at which data is being read by the
romagnetic stripes embedded on the magnetic strip . As the magnetic card reader. Accordingly, it is irrelevant if the
conventional magnetic card strip has a standardized format, multi- function electronic device 201? of the present disclo
the encoding of information is provided at a specified data sure is being swiped quickly or slowly, the planar coil 220
density (bits per inch) , according to which conventional is controlled by the processor unit 205 to produce data at a
magnetic readers are designed for interpretation of encoded 10 substantially optimized rate, where the rate of data produc
data . In order to most ably emulate a conventional card tion is dependent on the rate at which the multi- function
interaction with a conventional magnetic reader the multi- electronic device 201? is detected to be passing across the
function electronic device 101 of the present disclosure is magnetic reader head .
provided with a means of determining a substantially opti-             FIG . 2B depicts a multi- function electronic device 2016
mal rate for alternating the polarity of the generated mag- 15 according to an embodiment of the present disclosure .
netic field 120 in order to produce data at a rate which is able Device 2016 comprises a processor 205 and a memory unit
to be readily received and correctly interpreted by the 207 , the processor 205 operatively coupled to the compo
                                                                        2

conventional magnetic reader 150. Embodiments of the nents of multi - function electronic device 2016. The memory
present disclosure provide several means of determining the 207 comprises a plurality of accounts 209 , which may be
relative movement rate 130 between the multi- function 20 credit card accounts, banking accounts , merchant accounts ,
electronic device 101 and the magnetic reader head 155 . online accounts, cryptocurrency accounts, and combinations
These features, as well as other characteristics of the multi- thereof. A motion detection module 210 is coupled to the
function electronic device of the present disclosure, can be processor unit 205 and to a set of motion detection units,
better appreciated by a description of the internal compo- which comprise a rate detection assembly 225 , an optical
nents and functions of multi - function electronic device 101. 25 sensor array 230 , and a set of accelerometers 235. Addition
   FIGS . 2A and 2B depict exemplary embodiments of a ally, a galvanic sensor 275 is coupled to processor unit 205 .
smart multi- function electronic device, in a block diagram The magnetic field is generated via a planar coil 220 , which
view. The components of the block diagram are illustrated is controlled by the processor unit 205 via a coil interface
according to functional connections, and their locations 215. The rate at which the magnetic field changes polarity to
should not be construed as being limited to the respective 30 encode the user data depends on the rate of relative move
locations as depicted in FIGS . 2A - 2B . In FIG . 2A , multi- ment detected by the rate detector. The multi - function elec
function electronic device 201? is shown in aa block diagram tronic device 2016 further comprises a real- time clock 240 ,
view. Multi - function electronic device 201a comprises a a touch- sensor array 245 , and a display 250 , each opera
processor 205 and a memory unit 207 , the processor 205 tively coupled to the processor unit 205. A user input may be
operatively coupled to the components of multi- function 35 made via the touch sensor array 245 , which may comprise
electronic device 201a . The memory 207 comprises a plu- a touch screen panel, a keypad , or a combination thereof.
rality of accounts 209 , which may be credit card accounts, The display 250 is able to display an alphanumeric
banking accounts, merchant accounts, online accounts, cryp- sequence , as well as graphical icons ( such as a logo for a
tocurrency accounts , and combinations thereof. A motion bank , or other images ). Further, an optional backup power
detection module 210 is coupled to the processor unit 205 40 source 255 is depicted. Multi - function electronic device
and to a set of motion detection units , which comprise a rate 2016 further comprises a near - field communication (NFC )
detection assembly 225 , an optical sensor array 230 , and a unit 260 , as well as a radio frequency identification ( RFID )
set of accelerometers 235. The magnetic field is generated unit 265 , both of which are operatively coupled to the
via a planar coil 220 , which is controlled by the processor processor unit 205. In one embodiment the NFC and RFID
unit 205 via a coil interface 215. The rate at which the 45 may share the planar coil for use as a radio frequency
magnetic field changes polarity to encode the user data antenna, through the coil interface 215. In one embodiment
depends on the rate of relative movement detected by the one or both the NFC and the RFID may have antennae
rate detector. The multi - function electronic device 201a dedicated to that individual sub -system . A universal serial
further comprises a real -time clock 240 , a touch - sensor array bus (USB ) connector 270 is coupled to the processor unit
245 , and a display 250 , each operatively coupled to the 50 205. The functionality of the components with regard to
processor unit 205. A user input may be made via the touch exemplary uses of multi - function electronic devices 201a
sensor array 245 , which may comprise a touch screen panel, and 2016 is described in greater detail in the following
a keypad, or a combination thereof. The display 250 is able description.
to display an alphanumeric sequence, as well as graphical              A further aspect of the present disclosure provides a single
icons ( such as a logo for a bank , or other images ) . Further, 55 multi - function electronic device that can be used for mul
an optional backup power source 255 is depicted .                   tiple banks or financial institutions. For example, instead of
   In one embodiment, the processor unit 205 is connected carrying a separate payment card for each account of a
to the planar coil 220 and the motion detection units , via the variety of payment card companies, a customer need only to
motion detection module 210. The processor unit 205 is carry a single device according to embodiments of the
responsible for determining the appropriate rate with which 60 present disclosure . The capability of the multi - function
to output data from the planar coil 220 , wherein output data electronic device to generate a multitude of payment num
is encoded using alternating polarity of a generated magnetic       bers provides the ability of the multi - function electronic
field. The rate of the alternating polarity of the magnetic field   device to be associated with multiple accounts . Furthermore,
is generated in accordance with the detected movement inputs at the touch sensor array on the multi- function
speed with which the card is swiped through the reader, in 65 electronic device can be used to select the appropriate bank
order for the reader to receive the encoded data at the or credit provider account stored in the memory unit of the
appropriate rate. Magnetic card readers, which are designed multi - function electronic device.
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   FIG . 2C depicts a process of selecting an account from a By tracking over time the position of this minimum received
plurality of stored accounts in order to perform a transaction light along the optical sensor array, a detected movement
with the selected account, according to an embodiment of rate may be found.
the present disclosure. The process 280 begins at step 282,          The set of accelerometers 235 are also operable to detect
where a plurality of accounts stored by the multi- function 5 a movement rate of the multi -function electronic device
electronic device memory is displayed. The plurality of 201a . The set of accelerometers 235 are positioned in the
accounts 209 are stored by memory 207 , and are displayed multi- function electronic device 201a in order to effectively
using display 250. A user indicates an account selected from measure the position and acceleration of the multi - function
the plurality of accounts at step 284. The selection is able to electronic device 201a . In an embodiment, the set of accel
be made by keypad or touch sensor array 245 , and an 10 erometers comprises groups of accelerometers, each group
indication of the selected account can be displayed via having one or more accelerometers disposed at orthogonal
display 250. At step 286 the multi - function electronic device planes to each other, and each group capable of generating
is configured according to account information associated signals that allow for determination of the orientation,
with the selected account, which may include an account motion and acceleration of the multi - function electronic
number, an expiration date , and other user information 15 device 201a .
associated with the account ( e.g. a username, PIN , pass-           The detected movement signal is received by the motion
word , email address, etc. ). At step 288 the planar coil of the detection module 210. The detected movement signal is
multi - function electronic device is encoded with a limited- generated by any one of the set of motion detection units, or
duration payment number that is associated with the selected any combination of motion detection units of the set . For
account. The limited -duration payment number is able to be 20 example, the movement detection signal is able to be gen
generated according to the selected account, a timestamp, a erated by the combination of the rate detection assembly 225
transaction amount, an indicated merchant, user key or and the optical sensor array 230. In an embodiment, the
secrets, on - card unique hardware secrets, payment authority movement detection module 210 is able to determine the
key or secrets , user input from the card interface, and other movement rate of the multi - function electronic device 2010
information associated with the transaction .                   25 from the detected movement signals, and transmits the
Movement Rate Feedback                                             determined movement rate , and orientation to the processor
  The relative movement rate of multi - function electronic       unit 205. In an embodiment, the motion detection module
device 201? is detected by one or more of the set of motion       210 sends the detected movement signal to the processor
detection units, comprising the rate detection assembly 225 , unit 205 , and the processor unit 205 determines the relative
the optical sensor array 230 , and the set of accelerometers 30 movement rate .
                             2

235. Each of the motion detection units detects the motion          In one embodiment, the generation of the magnetic field
of the device 201a in a distinct manner. The rate detection       by the planar coil 220 at a specified rate of alternating
assembly 225 , which is positioned alongside ( but indepen- polarity is accomplished according to the following descrip
dent of) the planar coil 220 , is able to detect the location of tion . One or more of the motion detection units in the set of
a magnetic head reader as the rate detection assembly 220 is 35 motion detection units ( rate detection assembly 225 , optical
being passed through the card reader. The reader module of sensor array 230 , and set of accelerometers 235 ) detect a
a conventional card reader comprises a metal head having a movement rate of the multi - function electronic device 201a
small gap at the tip of the head . A pickup armature resides with respect to a magnetic card reader, and signal the motion
in this gap , such that as the metal head passes over a card detection module 210. The movement rate is provided to the
strip , an electric field is induced in the head reader pickup 40 processor unit 205 , which determines the appropriate rate for
circuit . In one embodiment the rate detection assembly 225 alternating the polarity of the magnetic field generated by
is constructed of an array of auxiliary inductor coils and the planar coil 220. The processor unit 205 outputs instruc
magnetic pickup coils . As the metal head of the card reader tions or data to the coil interface 215 at the determined rate ,
assembly passes over the arrangement of auxiliary inductor which in an embodiment is a digital -to - analog converter ( a
coils and magnetic pickup coils of the rate detection assem- 45 DAC ) and acts to translate the signal from digital to analog
bly 225 , a disturbance in the magnetic field flowing between in order to drive the planar coil 220 and produce the
the two is induced, generating a change in current and magnetic field . The instructions from the processor unit 205
producing a detected movement signal . The change in are comprise binary code , which are output through a shift
current is detected by the motion detection module 210 , and register to the coil interface 215. The shift register outputs
is used to determine the rate of motion of the card reader 50 data at a rate proportional to the determined movement rate
head passing across the surface of the multi - function elec- of the multi - function electronic device 201a — thus, a higher
tronic device 201a ( and therefore along the planar coil 220 ) . determined multi - function electronic device 2010 move
   The optical sensor array 230 is also operable to detect a ment rate has a corresponding higher output rate at the shift
movement rate of the multi - function electronic device 2010 register, leading to a higher rate of alternating polarity at the
with respect to a conventional magnetic card reader. The 55 generated magnetic field (i.e. , encoded data symbols output
optical sensor array 230 is disposed nearby the planar coil more quickly ). Conversely, a lower movement rate of multi
220 , in order to accurately detect a movement rate in the function electronic device 201? leads the processor unit 205
region of the planar coil 220. In an embodiment, the optical to control the shift register to output data at a lower rate, and
sensor array 230 is a thin strip parallel to , and extending consequently the rate of alternating polarity in the generated
along , the length of the planar coil 220. The optical sensor 60 magnetic field is lower .
array 230 determines a location of aa minimum of received            FIG . 3 illustrates an exemplary process 300 for determin
light, which corresponds to the region of a surface in nearest ing the rate to alternate the polarity of the generated mag
proximity to the optical sensor array 230. The magnetic netic field of the multi- function electronic device , according
reader head of aa conventional magnetic card reader extends to an embodiment of the present disclosure . At step 301 the
furthest from the surface of the card reader, and therefore the 65 process determines if a standard magnetic card reader is
detected minimum in received light at the optical sensor detected to be in proximity with the multi - function elec
array 230 corresponds with the location of the reader head . tronic device. If NO , the step repeats. If YES , the process
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moves to step 303. At step 303 a detection of a movement         wake up the multi - function electronic device 401 , to cause
                                                                                                                      2

rate at which the body of the multi - function electronic        the battery to supply power, or to place the multi - function
device is moving relative to the standard magnetic card          electronic device 401 in a power reduction mode when it is
reader is made . The process continues at step 305 , wherein     not being used . In an embodiment, if any number other than
a magnetic field is generated by an inductor assembly 5 the correct password is entered multiple times, or if there is
comprised by the multi- function electronic device, the mag an attempted usage of the multi - function electronic device
netic field having a target rate of alternating polarity that is 401 without entering in a password , an automatic phone call
based on the detected movement rate from step 303. The may be triggered to the appropriate fraud protection authori
process then repeats at step 301 , determining if a standard ties .
magnetic card reader is (or remains) in proximity to the 10
multi- function electronic device . In this manner, while a 450In isonea embodiment       of the present disclosure, the display
standard magnetic card reader is detected to be in proximity display 450 is able to have crystal
                                                                            thin - film liquid          display (“ LCD ” ). The
to the multi- function electronic device, the movement rate of ment, the display 450 can be used tousescue. Intheoneuserembodi
                                                                                                multiple
                                                                                                                           for a
the multi - function electronic device is determined and the
polarity and orientation of the generated magnetic field is 15 security question upon input of an improper password . Or if
alternated at the appropriate rate, to recreate the data as can   fraud protection services need to contact a customer, they
described above, at the correct rate, in order to clock out the       verify the customer's identity by transmitting a security
data to be conveyed to the magnetic strip reader, at a rate question to the display 450 of user's multi -function elec
matching the action of an ordinary magnetic strip card tronic device 401 , to which the user would need to respond
through same the magnetic card reader.                         20 correctly using the input buttons of touch sensor 445 on the
Security                                                          card .
   Security is an area of concern for payment card holders, Limited - Duration Payment Number
as the small form factor makes theft quite easy, and addi-           A further security feature of the multi- function electronic
tionally there are many ways for a malicious third -party to device provided in the present disclosure is the capability of
record   the account number of a payment card in order to 25 producing a limited -duration payment number for perform
later make fraudulent transactions on the account . Embodi        ing transactions using accounts of the card . The multi
ments of the present disclosure address security concerns of function electronic device comprises a real -time clock that is
a payment card owner on several fronts .                          able to produce a cryptographically protected timestamp for
   In one aspect , security of the multi - function electronic each interaction . The power source is able to activate the
device is enhanced by providing a means of locking the 30
multi - function electronic device in order to prevent use , processor
                                                                  by the
                                                                             unit such that a unique number may be generated
                                                                          multi - function electronic device and verified by the
until such time that a valid user input is entered . Embodi payment authority            according to the timestamp and the
ments of the present disclosure provide a multi - function transmitted user information          . The limited -duration payment
electronic device having a region for receiving human input,
e.g., touch sensors which are able to be formed by contacts 35 number is able to be produced atathe time the multi-function
that a user can press ( e.g. , the touch sensor array 245 of electronic device is performing a transaction , and is able to
FIGS . 2A - 2B ) . FIGS . 4A - 4B illustrate a user interacting be generated according to the user's private information , a
with a multi - function electronic device 401 via a keypad or bank information, information regarding the facility per
touch sensor array 445. In FIG . 4A , the multi- function forming the transaction , and the time of day. The limited
electronic device 401 is in a locked state. A display 450 is 40 duration payment number is able to be limited to only one
able to display a message to the user, for instance, the transaction , a finite number of transactions, or may be
message " device locked ” or “ enter password ,” or question limited to a specified period of time e.g., 2 minutes, 10
prompts which guide the user to respond with answers minutes, 3 hours after which time that particular limited
through the key -pad or the touch sensor, to certain preset duration number would become invalid . As detailed above ,
questions, that confirm personal knowledge known only to 45 if an expired limited - duration payment number is attempted
the associated user . The touch sensor array 445 enables user to be used for a transaction , the transaction is denied and an
interaction with the multi - function electronic device 401. An automatic notification is able to be made to a payment
exemplary use of the touch sensor array 445 is an input of authority in order to notify the user and to prevent transac
a currency amount to be used in a transaction . The touch          tions on the account. The transaction count is able to be
sensor array 445 is able to include buttons, or a touch- 50 determined through the action of passing the card through
sensitive pad , or a combination of the two. Other embodi-         magnetic reader, and the process of transmitting the payment
ments of the touch sensor array 445 allowing a user to input       number to the card reader.
data to the multi - function electronic device 401 are consis-       In one embodiment, the number on the front of the card
tent with the spirit and scope of the present disclosure .      is able to be a full or partial number. In an embodiment, the
   In order to unlock the multi - function electronic device 55 number displayed on the multi- function electronic device is
401 and enable a transaction or other usage , the user inputs a static number, but the number transmitted during a trans
data via the touch sensor array 445. FIG . 4B illustrates the action is a limited - duration payment number as described
user inputting a password via a gesture 470 , which operates above . The number displayed on the multi- function elec
to unlock the multi - function electronic device 401. The tronic device may not nece        ecessarily be a static number. For
display 450b is able to display a message indicating the 60 example , the first four and last four digits of the payment
multi - function electronic device 401 is unlocked and ready number are able to be fixed , while the remaining eight digits
for use , for instance , display 450b may display the message can be dynamically generated. As the device is read by the
" unlocked , ” or it may display an account number associated machine , part or all of the number may be dynamically
with the multi - function electronic device 401 .               produced at the time the device is read . As described above ,
   Embodiments of the present disclosure provide additional 65 the dynamic part of the limited - duration payment number
functionality for the touch sensor array 445. For example , generated may be based on the user's private information,
there may be touch contact terminals that a user can press to the user's bank information , the time of day or the facility
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that is reading the card . Further, the expiration date of the multi- function electronic device 2016 detected by acceler
multi - function electronic device can also be dynamically     ometers 235 , or a gesture, swipe , or a key input received by
generated                                                      touch sensor array 245 .
  Effectively, embodiments of the present disclosure pro-        A transaction is able to be communicated using the planar
vide a multi - function electronic device that has no fixed 5 coil 220. In one embodiment, when the transaction is a
number, as illustrated in FIG . 11 , and therefore the account payment transaction, a limited -duration payment number is
cannot be compromised. Only the number generated at the generated . A user inputs an amount for the transaction using
instant of the multi - function electronic device transaction       the touch sensor array 245 , and the limited -duration pay
matters . Accordingly, unauthorized use of the multi - function ment number is generated to correspond with the entered
electronic device is highly unlikely , because a transaction 10 amount. The binary data corresponding to this limited
cannot be conducted with an expired limited - duration pay- duration payment number is sent from the processor unit 205
ment number, or only the static portion of the payment to the coil interface 215 , where it is converted to an analog
number. In one embodiment of the present disclosure , suf- signal in order to drive the planar coil 220 to generate a
ficient dynamically generated numbers are provided for on magnetic field having an alternating polarity corresponding
the multi - function electronic device such that a unique 15 to the encoded data of the limited - duration payment number.
payment number can be generated for each transaction . In Online Transactions
this embodiment, the multi- function electronic device of the     FIG . 5 displays the multi -function electronic device 501
present disclosure effectively acts as a unique per-transac- in connection with a computing device 590. In one embodi
tion payment device.                                            ment, the multi - function electronic device 501 is able to be
   With reference to FIG . 2A , 2B , in one embodiment, the 20 used to make online purchases. In one embodiment, the
process steps enabling a card transaction are as follows. A multi - function electronic device 501 is equipped with a
multi- function electronic device (e.g. , multi- function elec- means 570 for communicating with the USB port on a
tronic device 2016) is connected to a cor uter system (e.g. computer or other device in order to make online purchases.
computer system 590 , FIG . 5 ) , via any of the connection In one embodiment the multi - function electronic device 501
means available to the multi - function electronic device 25 may have an area cut out , such that contact terminals
(USB 270 , NFC 260 , and RFID 265 ) . User data and other corresponding to a USB cable connector are contained
essential information, such as account information, are within , enabling connection of a USB cable (e.g. , a micro
downloaded to the multi - function electronic device . For USB connection ). When performing online transactions, the
example , for an account designed for online transactions, multi- function electronic device 501 can uniquely generate
user account information will likely include an account 30 a limited - duration payment number (as described above ) for
email and an account password . The account may be for online purchases. The multi- function electronic device 501
example a bank account, a credit account, a merchant receives a user input indicating that a transaction is immi
account, an online transaction account, or a cryptocurrency. nent, and an authorization . The user input is able to comprise
In one embodiment a currency amount is also downloaded , a gesture , a swipe , a key input sequence , and combinations
which is made accessible to the multi - function electronic 35 thereof. The limited -duration payment number is able to be
device 2016 for transactions. In an alternative embodiment, displayed on the front display of the multi-function elec
rather than a currency amount being downloaded to the tronic device 501. In one embodiment, the multi - function
multi - function electronic device 2016 , the user account electronic device 501 is able to use RFID 265 or near field
information ( e.g. , username and password ) is stored such communication NFC 260 technology in order to connect to
that a subsequent authorized multi- function electronic 40 a personal computer 590. This enables a per- transaction,
device 2016 transaction is automatically pre -authorized to         limited - use payment number, enhancing the security of the
deduct (or credit ) the entered transaction amount at a stored payment account by substantially negating the possibility of
account. In an embodiment, a user uses the touch sensor a theft of the payment number used to perform the transac
array 245 of the multi - function electronic device 2016 in tion leading to account compromise. See also , for example ,
order to input the user information , including the amount of 45 FIG . 10 .
currency to be stored . The information entered by the user is           According to an embodiment, the transaction is able to
able to include an account source of a transaction ( e.g. , bank include information regarding a user account, such as an
account, credit account, merchant account, ATM , online email address of the user, and upon reconnection of multi
payment service , or a cryptocurrency ), as well as a type of function electronic device 2016 to a computer system ( for
transaction to be made ( e.g. , as a debit card , as a credit card, 50 instance, computer system 590 ) , the transaction information
                             9

or as a user account). In another embodiment, the informa-             stored on multi - function electronic device 2016 could be
tion is entered using the computing system to which the “ replayed ” by the computer system in order to finalize the
multi - function electronic device 2016 is connected.                  transaction .
   Transactions may be authenticated on the specified                     In one embodiment, a means of limiting an available
account by entry of the username and password for the 55 credit amount are provided . According to the download
account during the transaction , using the touch sensor array process described above , the multi - function electronic
245. In an embodiment, a password for an account is device is able to have a total credit available . The multi
represented by a user input ( such as a gesture, a swipe , function electronic device is able to reference the total credit
and / or an unlock keycode ) which is entered on multi- available in subsequent transactions, and will provide lim
function electronic device 2016 during a transaction for 60 ited -duration payment numbers corresponding to amounts
account authentication . According to an embodiment of the up to , but not exceeding, the remaining credit available to
present disclosure, a user that has “ primed ” the multi- the multi -function electronic device . An attempt to perform
function electronic device 2016 for a transaction has already a transaction having an amount exceeding the remaining
performed a security authentication on the card, and there- credit available will not result in a valid limited - duration
fore a subsequent card transaction is able to be pre -autho- 65 payment number, and therefore an authenticated transaction
rized to perform the transaction without further user authen- cannot proceed . In general, the multi - function electronic
tication steps . The priming action can be a tap of the device will only successfully generate a limited - duration
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payment number if the proper conditions for a transaction function electronic device 601b . In one embodiment, a touch
are determined to be present. The proper conditions for a sensor array is able to be used for the priming action .
transaction comprise a correct identification having been                In an embodiment of a device - to - device transaction, one
made by the user (via a gesture, swipe , and /or key input) and device ( e.g. 601a , the device of the user having a currency
an amount for the transaction indicated to be less than the 5 debit) generates the limited - duration payment number,
total credit available to the account indicated for the trans- which is transmitted via the device's planar coil . The multi
action .                                                              function electronic device of the recipient (e.g. , 6016 , the
Device - to - Device Transactions                                     card of the user receiving a currency credit ) receives the
   In addition to transactions performed using conventional encoded data via the planar coil , acting as an antenna, and
magnetic card readers ( such as at point -of - sale locations, 10 the coil interface is able to convert the received signal into
banks, and automated teller machines ( ATMs ) and via cable a digital signal understood by the processor to be the
connection with a computing device , transactions performed limited -duration payment number, identifying both the cor
wirelessly between aa device and a device ( e.g. , card - to - card , rect account and the amount of the transaction .
card - to -computer device having a reader dongle , card - to-           In one embodiment , the multi -function electronic device
ATM ) are provided according to embodiments of the present 15 2016 stores cryptocurrency information in processor unit
disclosure . See , for example, FIGS . 8 and 10. For simplicity, 205. The cryptocurrency information stored is able to
the following describes a device -to -device transaction, but it include a plurality of cryptocurrency addresses, a plurality of
will be understood that card - to - device transactions are simi- private keys , and a plurality of public keys. The multi
larly provided                                                        function electronic device 2016 is able to perform a trans
  FIG . 6 illustrates aa device - to - device transaction according 20 action, as described above , using a cryptocurrency as the
to one embodiment. A first multi - function electronic device       specified account. In one embodiment, the multi - function
601a comprises a display 650a , and is in contact with a            electronic device 2016 is able to hash a portion of the
second multi -function electronic device 601b . A contact transaction , using the processor unit 205 and the real - time
interaction between the devices is indicated by interaction clock 240 along with user information pertinent to the
680. In one embodiment, the contact interaction is a tapping 25 cryptocurrency account and the transaction . A subsequent
of a device 601a against another device 601b . In another connection of the device 201b to a computing device pro
embodiment, an optical sensor array at one or both of the vides a means of connecting to the cryptocurrency servers
devices detects interaction 680. In another embodiment, and finalizing the transaction . Further, the multi - function
interaction 680 indicates a swipe of a device 601a across electronic device 2016 is able to sign a cryptocurrency
another device 6016. In one embodiment a user input 30 transaction by, for instance , receiving a prompt at the display
through the key -pad initiates and enables a transaction from 250 to input a dynamic PIN specific to the transaction , which
first device to second device. In one embodiment the pres- is able to be entered by touch sensor array 245 .
ence of second device in preparation for device - to -device          In a device - to - device cryptocurrency exchange , a record
transaction is confirmed through “ polling ” , the process of of the transaction can be made according to the following.
which involves transmission of data between devices, and 35 A first device (e.g. 601a ) making a deduction with an
confirmed receipt of transmitted data by response received amount indicated via touch sensor array 245 is able to
from second device received at first device, including infor- generate a record of the transaction and store the record in
mation confirming receipt of the information , by second the device memory , while a second device ( e.g. 6016 )
device .                                                            receiving the cryptocurrency is able to generate a confirma
   The planar coil comprised by each of multi - function 40 tion of the received transaction amount. In one embodiment,
electronic device 601a and multi - function electronic device the amount indicated is provided by the receiving device
601b is able to be a means of transferring information for a 6016. The hashed record of the transaction contains the
transaction , e.g. , such as an antenna . Once either, or both , of unique information of each user, along with the transaction
multi - function electronic device 601a and multi - function amount. The success or failure of the transaction is able to
electronic device 6016 detect interaction 680 , a transaction 45 be displayed on the respective displays of devices 601a and
is able to be completed via generation of a magnetic field at 601b .
one card and reception of the magnetic field (i.e. , reading ) at Account Theft and Unintended Use Prevention
the other card . In this manner, the device ( e.g. , multi-         A security concern for conventional credit cards utilizing
function electronic device 601a ) receiving the transaction wireless communication means is the ability of a thief to
information operates its planar coil in an antenna mode . This 50 access and / or copy user information through un -detected
enables multi - function electronic device 601a and multi-          interaction with the wireless communication means . Sensi
function electronic device 601b to authentically perform a          tive and confidential information can be gleaned via , for
transaction , and to transfer a currency between multi - func-      example , " listening -in ” on an RFID interaction between a
tion electronic device 601a and multi - function electronic         credit card and a contactless reader, recording the charac
device 6016. As described above , in an embodiment the 55 teristics of the interaction , and replicating certain character
transaction is able to use a limited -duration payment number       istics to fake an authorized transaction . While to a great
to encode the transaction .                                         extent security concerns are addressed by the usage of
   In an embodiment, a set of accelerometers is used to             limited - duration payment numbers and other security fea
detect the beginning of the transaction , for instance , a          tures provided for by the device of the present disclosure and
transaction performed by a swipe of multi -function elec- 60 previously described , a further security feature regarding the
tronic device 601a across multi - function electronic device        wireless communication means of the multi - function elec
6016. Further, the set of accelerometers can detect a “ prim- tronic device is described herein .
ing " action for a multi- function electronic device , i.e. , an In one embodiment, wireless communication means of
indication for a multi - function electronic device that a the multi- function electronic device 201b are in a powered
transaction is imminent. The priming action can be a tap of 65 down , or disabled , state prior to receiving an authenticated
the multi - function electronic device 601a , or tapping the activation signal from a user . Upon receiving the activation
multi- function electronic device 601a against the multi- signal, the communication means ( e.g. , NFC 260 , RFID 265 ,
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and planar coil 220 ) are activated, enabling the multi-             electronic device. In one embodiment, the NFC unit is
function electronic device 2016 to conduct a transaction .           disabled prior to receiving the input signal. In one embodi
The activation signal can originate from one ( or a combi-           ment, an RFID communication unit is disabled prior to
nation ) of the set of motion detection units ( rate detection receiving the input signal , and is activated by the input
225 , optical sensor array 230 , and accelerometers 235 ) , the 5 signal. In one embodiment, the planar coil is disabled prior
touch sensor array 245 , and the galvanic sensor 275. The to receiving the input signal, and is activated by the input
galvanic sensor 275 is operable to detect a contact of human signal.
skin , via a current produced at the sensor 275 upon such                   The multi - function electronic device, following enable
contact. See also , for example, FIG . 8. In an embodiment the ment of the NFC unit , receives an indication of an amount
galvanic sensor 275 is comprised of metallic contacts dis- 10 of currency for a transaction at step 703. At step 705 , the
posed on opposite sides of, and isolated by, the body of multi- function electronic device generates a limited -dura
multi - function electronic device 2016. In one embodiment, tion payment number, which at step 707 is transmitted to a
the current produced by user contact with the galvanic recipient of the transaction . In one embodiment, the limited
sensor 275 contacts is sufficient to provide small amounts of duration payment number has a limited recurrence , and is
energy in order to power components of the card . For 15 limited in scope of use to a predetermined number of
example, energy produced is able to power the processor authorized transactions.
unit 205 and the RFID 265. In one embodiment the galvanic                   In the foregoing description of process 700 , the ordering
                                                                                                                       2

sensor 275 further comprises two conducting surfaces sepa- of the process steps is exemplary and should not be con
rated by a junction, and the galvanic sensor 275 is config- strued as limiting . Alternative ordering of the process steps
ured as a thermoelectric generator ( e.g. , via the Peltier effect, 20 is consistent with the present disclosure , as conceived by one
the Seebeck effect, or a combination) . For example, heat skilled in the relevant art.
applied at one surface of the multi- function electronic device             In one embodiment of the present invention, a credit card
2016 may lead to differential heating between the opposing, comprises a dynamic magnetic strip incorporating a main
separated conducting surfaces of the galvanic sensor 275 , inductor assembly from which magnetic field data symbols
generating an electric current and powering a subset of, or 25 are dynamically generated . In one embodiment the inductor
all of, the components of multi- function electronic device assembly may be a planar coil formed within the plastic that
201b (e.g. , the processor unit 205 , the NFC 260 , and the the credit card is composed with . The advantage of using a
RFID 265) .                                                               planar coil is that it can produce the same magnetic field
   In an embodiment, the communication means are acti- interaction that aa traditional magnetic strip on a conventional
vated only so long as the activation signal continues to be 30 credit card can produce when it is passed through a reader .
detected . In another embodiment, the communication means Similar to aa traditional plastic credit card , the planar coil can
are activated for a specified amount of time following also produce a magnetic field that can be read by a pickup
detection of the activation signal . For example , if using the (or “ trans icer ” ) . The pickup produces electric current in
multi - function electronic device 2016 in an ATM ( or other the coil that, in turn , produces a magnetic field that is read
device) preventing continuous human contact, the activation 35 by the pickup. Accordingly, the planar coil can be read in the
signal is able to be a swipe , gesture , or key input sequence same way as the magnetic strip on a traditional plastic credit
entered via the touch sensor array 245 , which activates the card . The magnetic field produced by the planar coil would
device for a specified duration ( for instance , one minute ). In behave identically to a traditional magnetic strip .
an embodiment the detection of motion through accelerom-                    In one embodiment, alongside the main planar coil ,
eter input indicates activation by a valid user. In one 40 auxiliary rate detection assembly independent of the main
embodiment the specific motion detected through acceler- inductor assembly would be provided to assist with the
ometer input corresponding with a specific user action , such alignment of the production of data from the loop as it is
as a “ flick ” , “ swipe ”, “ spin ”, “ wave ” , “ tap , ” may be used to being passed over the head of the credit card reader. The
initiate activation , wherein the motion is not normally gen- reader module of aa traditional credit card reader comprises
erated at idle and during periods of inactivity . For example 45 a metal head with a small gap on the tip of the head . This gap
the motion not being generated accidentally while the device is where the pickup armature resides , so that when the metal
is stored in a user's wallet, carried while the user is actively head passes over the credit card strip , an electric field is
moving , or is being handed from user to a clerk at a point of induced in the head reader pickup circuit . In one embodi
transaction . In one embodiment the specific motion , or ment the auxiliary rate detection assembly is constructed of
sequence of motions , may be associated with a user, and 50 an array of auxiliary inductor coils and magnetic pickup
stored on the device memory , such that performing the coils , alongside the main coil . As the metal head of the card
correct sequence when prompted can confirm the possession reader assembly passes over the arrangement of auxiliary
of the device by the known owner, thus initiating activation coils and pickup circuits, a disturbance in the magnetic field
and enabling usage .                                                      flowing between the two generates a electrical current
   FIG . 7 depicts a process of selectively enabling the 55 change that is detected by a rate detection circuit so as to
communication capability of the multi - function electronic detect the rate of motion of the card reader head passing
device according to an embodiment of the present disclo- across the surface of the card and therefore along the main
sure . The process 700 begins at step 701 , where an input induction assembly . The purpose of this is to allow the
signal is received at the multi- function electronic device determination of the rate or production of magnetic data
from a user . The input signal is able to be generated by any 60 symbols in the main inductor assembly to align with the rate
one , or combination, of a plurality of input means , where the at which data is being read by the reader, according to the
input means comprise: a swipe gesture received at a touch data density of standard card magnetic strips . Accordingly,
sensor array ; a key press sequence ; an accelerometer sensor it is irrelevant if the credit card of the present invention is
indication of multi- function electronic device motion ; and a being swiped fast or slow , the main inductor assembly
galvanic sensor indication that the device is in a user grasp . 65 produces data at just the right rate depending on the rate at
The input received from the user enables operation of a which the card is detected it is being passed over the reader's
near - field communication (NFC ) unit of the multi - function head .
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   In one embodiment, a microprocessor is connected to the number generated at the instant the card is being used
main coil and the alignment pickups. The microprocessor is matters . Accordingly, unauthorized use of the card is nearly
responsible for producing the data from the coil at the impossible because no transaction can be conducted with
appropriate rate in accordance with the speed with which the only the partial static part of the payment number. In one
card is swiped through the reader. As shown in FIG . 1 , the 5 embodiment of the present invention , enough dynamically
auxiliary coil detects the rate at which the credit card is
being swiped . The microprocessor then uses this informa generated             numbers are provided for on the credit card such
tion to produce the data from the main planar coil at the transaction . Inpayment
                                                                  that  a  unique            number can be generated for each
                                                                                     this embodiment, the credit card of the
appropriate rate for the credit card reader.
   In addition, the credit card of the present invention 10 presentcard     invention effectively acts as a unique per transaction
comprises a real time clock that can produce a cryptographi credit   In
                                                                               .
                                                                          embodiments     of the present invention comprising
cally worthy timestamp for each interaction and a battery dynamically created payment               numbers, a single credit card
back up that can be used to power up the microprocessor. can be used for multiple banks                . For example, instead of
Further, the card can comprise additional human inputs, e.g. ,
touch sensors which can be formed by contacts that a user 15 carrying        a separate credit card for all the different credit card
can press. For example, there can be contacts that a user can companies, a customer would only need to carry a single
press to wake up the card , to cause the battery to supply card and one of the inputs on the front of the card can be
power, or to put the card to sleep when it is not being used . used to select the appropriate bank or credit provider.
There can also be additional inputs to key in customer               In one embodiment of the present invention, a thin film
specific information. For example , there can be inputs to key 20 liquid crystal display (“ LCD " ) can be fitted on the card so
in a password or any other kind of unique identifier. If any the credit card can have a display screen . The display can
other number besides the password is entered multiple have multiple uses . In one embodiment, the display can be
times , or if there is attempted usage of the card without used to ask the user a security question if an improper
entering in a password , an automatic phone call may be password is entered . Or if the fraud protection services need
triggered to the appropriate fraud protection authorities . 25 to contact a customer, they can verify the customer's identity
   In one embodiment, the number on the front of the card by transmitting a security question to the user's credit card
can be a full or partial number. The number may not have to screen to which the user would then need to respond
necessarily be a static number. For example, the first four correctly using the input buttons on the card .
and last four digits of the card number can be fixed while the    In one embodiment, the credit card of the present inven
remaining eight can be dynamically generated. As the credit 30 tion could also be used to make online purchases . In this
card is read by the machine, part or all of the number may embodiment, the card could use RFID or near field technol
be dynamically produced at the time the card is read . The              ogy so that it can connect to a personal computer and be used
dynamic part of the number generated may be based on the                to uniquely generate a payment number for online pur
user's private information , the user's bank information , the chases . The number could also , in one embodiment, be
time of day or the facility that is reading the card . Further, 35 displayed on the front LCD of the card . In one embodiment,
the expiration date of the card can also be dynamically the card may also be equipped with a means for communi
generated . Effectively, a credit card can be created that has cating with the USB port on the computer in connection with
no fixed number and therefore cannot be stolen . Only the making the online purchases.
                                                                                                TABLE 1
                                                      1. An apparatus for conducting credit transactions comprising :
                                                      a device with the similar dimensions and thickness to a standard credit card
                                                      an inductor assembly integrated into said device capable of generating a
                                                      programmed magnetic field at a location on the device where it will come into
                                                      proximity to a standard credit card magnetic - strip reader
                                                      the inductor assembly being operable to be read by a magnetic pickup of an
                                                      electronic credit card reader ;
                                                      at least one auxiliary rate detection units adjacent to said inductor assembly,
                                                      wherein said at least one auxiliary detection unit is operable to detect a rate at
                                                      which said device , including said inductor assembly, is passed through said
                                                      electronic credit card reader ; and
                                                      a microprocessor operatively coupled to said inductor assembly and said at
                                                      least one detection unit , wherein said microprocessor is operable to simulate
                                                      magnetic -strip data fields using the inductor assembly, at a rate determined from
                                                      said auxiliary detection units .
                                                      2. A method of Claim 1 , wherein the inductor assembly is a planar coil which is a
                                                      looped inductor with dimension roughly equal to , and along the axis of, the standard
                                                      credit card magnetic strip
                                                      3. A method of Claim 1 , wherein said detection assembly consists of a plurality of
                                                      motion rate detection units, which may comprise inductor coils and companion
                                                      magnetic - field pickup coils , each of which is able to detect the proximity of metallic
                                                      objects , such as magnetic - strip reader heads , passing through the magnetic field
                                                      created by said inductor and detected by said pickup coil .
                                                      4. A method of Claim 1 , wherein said device may incorporate a plurality of touch
                                                      sensors arranged along the surface of said device which may ;
                                                      allow user input of information,
                                                      allow introducing a transaction specific identifier,
                                                      to confirm /deny transaction information,
                                                      to operate in sequence , or with a gesture across said sensor for the purpose
                                                      lock /unlock or control access for transactions
                                                      5. A method of Claim 4 , wherein said device contains a real - time clock or counter
                                                      unit which generates a sequential parameter when the card is read by said credit
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                                   19                                                                         20
                                   TABLE 1 - continued
card reader, and which along with certain user information, transaction identifiers,
user secrets , payment authority secrets is combined to generate a limited- use
payment number, which has a limited recurrence, is limited in scope of use to a
predetermined number of authorized transactions
6. A method of Claim 5 , wherein the time , sequence , user, payment authority and
other information is similarly combined by credit card processing facility to generate
a payment number for comparison to the number transmitted by the credit card
reader, for the purposes of authenticating said number is from a recognized card
used in a user -authorized transaction
7. A method of Claim 1 , wherein said device incorporates a display allowing payment
number, time, passcodes , sequence codes , amounts and other credit card transaction
information to be displayed for user, merchant, bank or credit card authority
8. An Apparatus for conducting credit transactions comprising,
wherein the edge of said device contains a connector for connection to standard computing
devices such as a USB interface.


   The foregoing description, for purpose of explanation, has    transmitting said complete device payment information
been described with reference to specific embodiments.              from said electronic device to a recipient reader via said
However, the illustrative discussions above are not intended        NFC interface to the recipient NFC reader for a pro
to be exhaustive or to limit the invention to the precise forms 20  cessing of the payment transaction ; and,
disclosed . Many modifications and variations are possible in    receiving information at said electronic device corre
view of the above teachings. The embodiments were chosen            sponding to a transaction status of the payment trans
and described in order to best explain the principles of the        action, wherein such transaction status is at least partly
invention and its practical applications, to thereby enable         dependent on validation of the transmitted complete
others skilled in the art to best utilize the invention and 25      device  payment information by a payment processor
various embodiments with various modifications as may be            authority and a payment issuer authority; and,
suited to the particular use contemplated.
   Embodiments according to the invention are thus               visually conveying the transaction payment authorization
described . While the present disclosure has been described         status via a user - interface displayed on said display.
in particular embodiments, it should be appreciated that the 30 2. The method of claim 1 , further comprising receiving
invention should not be construed as limited by such confirmation via said NFC interface of the validity of said
embodiments , but rather construed according to the below complete device payment information from an NFC pay
claims .                                                       ment reader facility.
   What is claimed is :                                          3. The method of claim 1 , further comprising receiving
   1. A method of performing a payment transaction , the 35 said confirmation result of said complete device payment
method comprising:                                             information authentication status from a payment processing
   receiving an input at an electronic device corresponding authority via at least one interface of a set of interfaces
      to a priming operation of the electronic device by an comprising: said device NFC interface, a wireless interface
      authorized user ; and,                                                   of said device .
   wherein the authorizing of a user of the electronic device 40 4. The method of claim 3 , wherein the generating the
     comprises recognizing a user input using a human input limited -use payment information utilizes a unique device
      sensor, and wherein the human input sensor is any one                    generated information limited- in -use to said selected issuer
      of a touch sensor, a touch - screen display interface, a                 payment method, in payment transactions performed by said
      gesture sensor, a motion sensor, and a biometric sensor ;                device, in place of said selected issuer -payment information ;
      and,                                                                 45 and ,
   receiving a request for a transaction payment at said                          wherein said device account information will be rejected
      electronic device via an NFC interface of the device ;                          as invalid when not including a valid device generated
      and ,                                                                           limited -use information .
   displaying, on a display of the device , a transaction              5. The method of claim 3 , wherein the generating of the
      payment request and at least a portion of an original 50 limited -use payment information utilizes a secure combina
      static issuer - supplied payment account information tion of aa device transaction sequence counter count, a device
      associated with a payment method , for a user selection account number, a device -unique information, and a pay
      in paying the payment request; and,                            ment processing authority recognizable information; and,
   retrieving from a memory attached to a processor of the             wherein said generating of said limited -use payment
      device, a device - specific static limited -use payment 55          information, is authorizable for a payment, for the
      information , associated with said selected payment                 singular counted transaction , for said selected payment
      method ; and,                                                       method , by said device , in said transaction ; and,
   dynamically generating, by a processor of the device ,              wherein an authorizing by said payment processing
      device- specific limited- use payment information , for             authority, is a comparing of said device -generated
      said selected payment method ; and ,                        60      limited -use payment information, to a valid transaction
   using said limited -use payment information in place of at             payment information generated by said payment pro
      least a portion of said selected original issuer - supplied         cessing authority using same secure combination
     payment information for the transaction ; and ,                      method , and same information elements of a valid
   combining of said dynamically -generated limited -use                  payment transaction by said device ; and ,
      payment information with said static limited -use pay- 65 a generating at said valid payment information at a
      ment information , to generate a complete device pay                payment processing authority includes a processing
      ment information ; and ,                                            authority storing of expected device transaction
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     sequence counter count, expected issuer payment infor-               including: said transaction -specific sequence count
       mation , an expected a device user information , and the           information , said device - specific information , said
       device account number; and ,                                       user -specific information , and said authority - specific
   an adjusting of said transaction sequence counter count on             information .
       a per transaction basis; and,                              5
                                                                       9. The method of claim 8 , wherein the generating the
   an authorizing of a payment information as valid when limited -use payment information further utilizes a secure
       said processing authority is verifying the limited -use combining of said information , by at least one processor of
       transaction payment information generated by the the device , into a singular cryptogram number, capable of
       device, and the processing authority generated valid passing in at least a portion of the device transaction
       limited -use payment transaction information , are 10 payment information .
       matching.                                                       10. The method of claim 9 , wherein the generating the
   6. The method of claim 3 , wherein the generating the limited             -use payment information further utilizes a secure
limited - use payment information further utilizes a secure combination             with aa device key, and a payment issuer secret.
combination of said information with a device account
number    , a device sequence counter count, device-specific 15        11.  The   method    of claim 1 , wherein the generating the
information, payment processing authority specific informa limited -use payment information further comprises securely
tion ; and ,                                                        combining by at least one processor of the device of:
   a verifying of said combination by a payment processing             a device payment transaction sequence counter count, and
       authority, performing same secure combination of same           at least one of a set comprising:
       information as retained at the authority; and,            20       a device - specific internal information associated with
   a payment processing authority comparing said device                       said device and also known to a payment processing
       generated payment information , and said payment pro                  authority ; and ,
       cessing authority generated payment information, for a             at least one payment processing authority - specific
       verifying of aa limited- use payment as valid ; and,                  information provided by a payment processing
   a conveying of said validation result as a declining or 25                authority ; and ,
       accepting of said transaction payment; and,                        a payment issuer specific information provided by a
   upon a proper validating of said result , a conveying of                  payment issuer.
       original issuer payment information to an original              12. The method of claim 1 , wherein the generating the
      payment method issuer, for a settlement of said trans- limited -use payment information utilizes a recipient NFC
       action .                                                  30 facility provided information.
   7. The method of claim 3 , wherein the visual conveying             13. The method of claim 1 , wherein the generating the
of the transaction status is further comprising at least one , of limited -use payment information utilizes a merchant iden
a set of visual information including:                              tifying information.
   a confirmation result of payment authority authenticating           14. The method of claim 1 , wherein the generating the
       said device - transmitted limited -use payment informa- 35 limited -use payment information utilizes a transaction facil
      tion,                                                         ity information.
   a confirmation result of payment authority authenticating           15. The method of claim 1 , wherein the generating the
       said device - transmitted complete device payment limited -use payment information utilizes a payment amount.
       information ,                                                   16. The method of claim 1 , wherein the generating the
   an NFC transaction status,                                    40 limited -use payment information utilizes a payment facility
   a transaction payment amount,                                    type.
   a payment facility wherein the transaction was performed ,          17. The method of claim 1 , wherein the generating the
   a merchant information ,                                         limited -use payment information utilizes an online transac
   an original issuer payment account information ,                 tion information .
   an original payment issuer information ,                      45    18. The method of claim 1 , further comprising:
   a request for an authorized - user approval of the transac-         dynamically generating a cryptogram number for use by
       tion,                                                              the electronic device in place of a card validation value
   a payment processing status,                                           originated from the payment issuer, and wherein the
   an issuer payment approval status, and                                 dynamically generating the cryptogram number com
   a payment completion status .                                 50       prises cryptographically combining a transaction
   8. The method of claim 1 , wherein the generating the                  sequence counter count , payment processing authority
limited - use payment information is comprising:                          secrets, and a device account number; and
   a device - specific account number; and,                            wherein further, said dynamically generating of said cryp
   a device - internal transaction sequence counter count; and ,          togram results in aa one -time limited - use card validation
   an information unique to the user and device which does 55             value number, via the incrementing of said transaction
       not pass in the transaction ; and,                                 sequence counter count on a per -transaction basis , and
   at least one payment authority -supplied information                   using said updated transaction sequence counter count
       which does not pass in the transaction , wherein the               in said generation of said cryptogram ; and ,
       complete device payment information is only valid for           wherein said cryptogram is used in place of issuer sup
       use in place of an issuer payment method in authoriz- 60           plied card validation value number, in performing said
       able payments when comprising all valid device gen                 transaction payment by the device .
       erated limited -use information elements , and                  19. A method of performing an online payment transac
   wherein said generating is limiting in -scope -of-use said tion , the method comprising:
       generated payment information , for said user - selected        receiving an input signal at an electronic device, the input
       issuer payment method option, to a unique-per -device 65           signal corresponding to a request for payment of an
       unique -per -use one - time transacting by said combining          online payment transaction by said electronic device ,
     device; by combining said information elements                       via a wireless interface of the electronic device ;
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  a displaying of the payment request notification at a               conveying said device -generated complete payment infor
    touch - screen display user -interface of the electronic             mation , in place of a selected payment issuer informa
    device ; and,                                                        tion , when the device is performing payment transac
  upon an authorizing of a valid device user , displaying at            tions; and
    least one user - selectable payment account option, and 5         wherein a using of said static device account number
    requesting a user approval of payment, via the touch                 without a valid dynamically generated limited -use
     screen display user - interface;                                    number, shall be deniable as invalid , and outside aa valid
  receiving, from a valid device user, a payment selection               scope of device - limited usage .
     and authorization approval input on the electronic 10            22. The method of claim 19 , further comprising :
     device;                                                          generating a limited -use security code number for use in
  generating at least one limited - use numbers at said elec            place of a card issuer card security code, by crypto
     tronic device, and using said limited -use number in               graphically combining information from at least one of
     place of at least a portion of selected account issuer             a set of information comprising: a device transaction
    payment information ; and                                           sequence counter; a device account number ; a payment
                                                                15      account information, device secrets ; payment process
  combining said at least one limited -use numbers , with               ing authority secrets; and
     said selected account information , to form a complete          displaying the limited -use security code number on the
    payment information; and,                                           user - interface of the device display.
  wherein the receiving of a user payment approval autho-            23. The method of claim 19 , wherein a payment process
     rization through the user-interface of the electronic 20 ing authority verifying and authorizing a transmitted lim
     device, is comprising a displaying on said display at ited - use number based on a time of use , and cryptographi
     least a portion of information comprising: the payment cally combining a transaction sequence count information ; a
    request, the merchant, the amount, and the transaction device account number; a user account information ; a pay
     information ; and,                                            ment issuer information ; a payment processing authority
  receiving a user input providing for at least one transac- 25 secrets; a transaction information ; and ,
     tion authorization actions , from a set of actions includ-      further comprising: receiving an authorization of said
     ing: approving a transaction, denying a transaction ,             transaction, responsive to verifying a valid limited -use
     selecting a user information , a payment amount adjust             number appearing in a transaction information in place
                                                                        of the payment issuer information ; and
     ment, and selecting a transaction payment method; and, 30 a rejecting
  on receiving said user payment approval authorization                             by the payment processing authority, on a
     input, a transmitting by the wireless interface of the             detecting   as invalid at least one verification test , from
     approved complete payment information for the online               a set of tests comprising:
    transaction .                                                       a mis -matching of the transacted limited -use number,
  20. The method of claim 19 , further comprising :                        and the authority cryptographically -combined num
  dynamically generating a cryptogram number for use by
                                                                35         ber  ;
                                                                        a transactional use of a device account number outside
     the electronic device in place of a card validation value             of its limited scope of valid payment reader facility
     originated from the payment issuing authority, and                    use ;
     wherein dynamically generating the cryptogram num                  a transactional use outside of aa valid time window ;
     ber comprises cryptographically combining a device 40               a transactional re - use of a number limited to a one - time
      transaction sequence counter count, a user information ,            use; and,
      a payment account number, information and secrets                 a transactional use of an expired number outside of a
      known to a payment processing authority ; and                        limited time - of - use.
  wherein further, said dynamically generating said card             24. The method of claim 19 , wherein the user selecting of
      validation value number results in aa one -time limited- 45 a payment method at an electronic device comprises receiv
     use payment information , on incrementing the device ing a user touch input selection , via the user interface, of a
     transaction sequence counter count on each transaction displayed payment method option , on the device touch
      payment, and said device combining said current trans- screen display interface.
                                                                     25. A non - transitory , computer -readable medium storing
      action sequence count at the instant of generating said 50 computer
     cryptogram number.                                                       executable instructions that when executed by one
   21. The method of claim 19 , wherein at least a portion of     or more   processors , cause the one or more processors to :
said limited -use number comprises a static device account           accept  a  priming   action of the electronic device by an
number,                                                                 identified valid device user, identified from the device
                                                                        inputs;
  and wherein the static device account number is of a 55             enable the electronic device for imminent performance of
    limited scope of valid use to a specific device,                     a payment operation responsive to the priming action of
  and wherein further a payment processing authority pro                 said valid user;
    vides said device account number unique for the spe               display a summary of online purchase information includ
    cific electronic device , in place of payment issuer                 ing the merchant information and the purchase amount ;
    information , in performing payment transactions by the 60           and ,
    electronic device, and further comprising :                       display at least one selectable issuer payment account
  performing a payment transaction by the electronic device             methods on a display; and ,
    including the dynamically generated limited- use num-             receive a payment selection and approval authorization
    ber ;                                                                from said valid device user via a human input sensing
  combining the dynamically -generated number and the 65                 at the device ; and
    static device account number within a device - generated          responsive to receiving a valid user transaction payment
    complete payment information ; and                                  approval, generate a device -specific limited- use pay
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     ment information for use in place of at least a portion                said payment account information , and said dynami
     of said selected issuer payment account information on                 cally generated cryptogram ,
    the device ,                                                       and transmitting said complete device payment informa
  form a complete combined device payment information                       tion when said issuer payment account method is
    from a dynamically generated portion and a statically 5                 selected .
     generated portions stored in a memory of the device ,             28. The non -transitory, computer -readable medium of
  wherein the communication interface is operable to trans-         claim 25 , wherein the executable instructions further causes
    mit said complete device payment information from               the one or more processors to perform :
     said electronic device to the recipient of the online10
                                                                       a combining of aa static device - specific payment account
    purchase transaction ; and                                              information, a device generated information, and other
  wherein further the processor is operable to receive an                   user and account information stored on the device
    approval and a denial confirmation from an online                     which is uniquely identifying the specific user , specific
    payment facility of the complete device payment infor-                selected account, and the specific device ; and ,
    mation , and cause the display to visually convey a 15             a generating of aa limited- use payment information by the
     status of the online purchase transaction .                          one or more device processors cryptographically gen
  26. The non -transitory, computer - readable medium of                    erating at least one one - time limited- use cryptogram
claim 25 , wherein the executable instructions further cause                numbers ; and ,
the one or more processors to :                                        wherein the one or more device processors are further
  receive the priming action of a user via the device human 20              operable to combine said limited- use static device
    input sensors ;                                                         account information and said one -time use cryptogram
  identify an authorized valid device user through a human               number ( s ) to produce the complete combined device
     to device inputs, selected from at least one security               payment information; and ,
     challenge, of a set of human to device input challenges           wherein the one or more device processors are further
     comprising:                                               25        operable to transmit said complete payment informa
  a correct passcode touch entry sequence ,                              tion in place of said user - selected payment account
  a correct touch gesture,                                               information in a device payment transaction ; and ,
  a touch input of a known device user,                                wherein the one or more device processors are further
  a biometric recognition of a valid user ,                              operable to display at least a portion of said user
  a biometric sensing of aa valid user's skin touch ,        30
                                                                         specific selected account information associated with
  a touch input sensor recognition of a unique customer              said complete device payment information used during
     identifier,                                                     said  transaction , via a user interface disposed of the
  a security question which a valid user could answer                device .
     correctly, and
  receiving a correct user response input, from a security 35 29. The non - transitory, computer - readable medium of
     challenge presented on the device display; and             claim 25 , wherein the executable instructions further cause
  responsive to receiving an incorrect user response input, the one or more processors to dynamically generate a
     offer aa reduced number of additional challenge attempts one - time limited- use cryptogram number, via a known cryp
     before failing the user authorization at the device, and tographic combination of at least one information unique to
     denying the payment authorization .                     40 the electronic device , and also known to at least one of a
  27. The non -transitory, computer -readable medium of payment processing authority and a payment issuer author
claim 25 , wherein the one or more processors include a ity, and selected from a set of information known and stored
cryptographic processor, and wherein the executable at both said payment authorities, and on said device, includ
instructions further cause the one or more processors to :          ing :
  cryptographically compute a dynamically generated one- 45            a transaction sequence counter,
    time - use cryptogram number,                                      a device account number,
  and combine said dynamically generated portion with a                a device account expiration date ,
     static device - specific account number known to a pay-           a device secret,
     ment processing authority and limited in use to the               a payment processing authority secret,
    device use in place of an issuer payment method; and, 50           a user information ,
  wherein further said cryptogram number is created by said            a payment account information,
    device processor cryptographic combination of device               a payment issuer information,
    transaction sequence counter count, a payment account              a payment amount, transactional information ; and ,
    information, a user information , and information stored           wherein said one or more processors uses said one - time
    in the device and specific to the device and which is not 55          limited -use cryptogram number in place of at least a
    communicated in the transaction ; and,                                portion of an issuer's static payment information , in a
  wherein said transaction sequence counter, said informa                 payment transaction using said payment account; and ,
    tion and said secrets are known to both said device, and           wherein said payment authorities are operable to recog
    to said payment processing authority ; and ,                          nize from the transactional payment information , the
  wherein further said static device- specific device account 60          correct set of user, device and account specific infor
    number is known to a payment issuer, and has a                        mation to be cryptographically combined into an
    device -specific expiration date of limited duration of               authority computed cryptogram , for comparing with
    validity ; and,                                                       device transmitted limited- use payment information;
  wherein the generating said complete combined device                    and ,
    payment information comprises a device combining 65                wherein said payment processing authorities are operable
    said static device -specific device account number, said              to deny as invalid a transaction including a cryptogram
    device account expiration date , said user information ,              not matching an authority computed cryptogram ; and,
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  wherein said payment authorities are operable to approve         a payment processing authority secret;
    as valid a transaction including a cryptogram matching         a transaction information;
    the payment processing authority computed crypto-              and a user private information ; and ,
    gram ; and,                                                    wherein said cryptogram is operable to be used in place of
  wherein said device is operable to receive an approval and 5        at least a portion of an issuer's static payment infor
     a denial status of said transaction , from said payment          mation , in a payment transaction for said selected
     authorities , and visually convey said transaction status        payment account; and,
     in the user - interface on the display disposed of the        wherein said payment processing authority is operable to
     device .                                                         deny as invalid , a transaction including a cryptogram
   30. The electronic device of claim 25 , further comprising 10      not matching a payment processing authority computed
a processor and a non -transitory, computer-readable medium           cryptogram
                                                                   wherein        ; and, processing authority is operable to
                                                                             said payment
storing computer executable instructions that when executed           approve as valid , a transaction including a cryptogram
by the one or more processors , cause the one or more device          matching the payment processing authority computed
processors to dynamically generate a one - time limited -use 15       cryptogram ; and ,
cryptogram number by a cryptographic combination, of at            wherein said user device is operable to receive an
least one information known to : the device, the payment              approval and a denial status of said transaction infor
issuer authority, and a payment processing authority, and             mation validation , and visually convey said transaction
unique to the electronic device , and selected from a set of         status in the user - interface on the display disposed of
information including:                                       20      the device; and,
  a transaction sequence counter ;                                 wherein said user device is operable to emulate the
  a user payment account number;                                     behavior of an issuer account payment transaction ,
  a device payment account number;                                   when said complete device payment information is
  a device secret ; device keys;                                     used in electronic payment facilities .
  a payment issuer original account information ;
  a payment issuer device account information;                                          *
